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 3
     Attorneys for Defendant
 4   David Navarro
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                    ) Case No.: 2:08 CR 00392 GEB
     UNITED STATES OF AMERICA,                        )
10                                                    ) STIPULATION AND ORDER
                    Plaintiff,                        ) CONTINUING SENTENCING
11                                                    )
            v.                                        )
12                                                    )
     DAVID REYES NAVARRO,                             )
13                                                    )
                    Defendant.                        )
14
            Defendant DAVID REYES NAVARRO, by and through his attorney, Michael Chastaine
15
     and the United States, by and through Assistant United States Attorney Michael Beckwith,
16
     hereby stipulate and agree to continue the sentencing hearing in the above-captioned case from
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     Friday, June 18, 2010 at 9:00 a.m. to Friday, August 13, 2010 at 9:00 a.m. The continuance is
18
     requested because the co-defendants have not yet resolved their cases. Mr. Navarro should not
19
     be sentenced until it is determined if any of the co-defendants will go to jury trial.
20
     Dated: June 14, 2010                   The CHASTAINE LAW OFFICE
21
                                                    By: ____/s/ Michael Chastaine
22                                                         MICHAEL CHASTAINE
23                                                         Attorney for David Reyes Navarro

24   Dated: June 14, 2010                   BENJAMIN B. WAGNER
                                            United States Attorney
25
26                                                  By: ___/s/ Michael Beckwith
                                                           Michael Beckwith
27                                                         Assistant U.S. Attorney
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 1
 2                                               ORDER

 3          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:

 4          IT IS HEREBY ORDERED that the status conference scheduled for Friday, June 18,

 5   2010 at 9:00 a.m. be continued to Friday, August 13, 2010 at 9:00 a.m. and that the period from

 6   June 18, 2010 to August 13, 2010 is excludable from calculation under the Speedy Trial Act

 7   pursuant to 18 U.S.C. §3161(h)(8)(A).

 8
 9   Dated: 6/16/10
                                             GARLAND E. BURRELL, JR.
10                                           United States District Judge
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